         Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 1 of 8



                          THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                  §
                                                        §
VENTECH ENGINEERS, L.P. et                              §               Case No. 17-33203
al., 1                                                  §
                                                        §               Jointly Administered
                          DEBTORS.                      §               (Chapter 7)


         TRUSTEE’S NOTICE OF CLOSING OF SALE OF 100 PASADENA BLVD.

TO THE HONORABLE DAVID R. JONES, UNITED STATES BANKRUPTCY JUDGE:

         Rodney D. Tow, the Chapter 7 Trustee (the “Trustee”) of the estates of the above-

captioned debtors (the “Debtors”), files this Notice of Closing of Sale of 100 Pasadena Blvd. and

respectfully represents as follows:

         1.      On May 17, 2018, the Trustee filed his Motion, Pursuant to Bankruptcy Code

Sections 105(a), 363 and 503 for Entry of Order (A) Approving Sale of Certain of the Debtors’

Assets, (B) Authorizing Payment of Certain Expenses Related to the Sale and (C) Approving an

Auction Process and Break-up Fee, if Necessary [ECF No. 83], seeking authority to, among

other things, sell the Debtors’ former headquarters located at 100 Pasadena Blvd., Pasadena,

Texas 77506 (the “Property”).

         2.      On June 13, 2018, the Trustee filed his Amended Motion, Pursuant to Bankruptcy

Code Sections 105(a), 363 and 503 for Entry of Order (A) Approving Sale of Certain of the


1
         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech
         Fabrication Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC
         (1829); Ventech Engineers North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech
         Vessel Fabricators LLC (6525); Ventech Global Projects, Inc. (9146); Ventech International Projects LLC
         (2187); Ventech Global Construction, LLC (0736); Ventech Modular Fabricators LLC (2960); Ventech
         Refining Solutions LLC (6454); Ventech Plant Constructors LLC (5107); Ventech Engineers &
         Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC (2500); and
         Ventech XTL Oklahoma City LLC (5549).



TRUSTEE’S REPORT OF SALE                                                                              Page 1 of 3
        Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 2 of 8



Debtors’ Assets, (B) Authorizing Payment of Certain Expenses Related to the Sale and (C)

Approving an Auction Process and Break-up Fee, if Necessary [ECF No. 91] (the “Amended

Sale Motion”).

       3.        On July 10, 2018, the Court issued an Order Approving Sale of Certain of the

Debtors’ Assets and Authorizing Payment of Certain Expenses Related to the Sale [ECF No.

110] (the “Sale Order”), which granted the Amended Sale Motion and approved the sale of the

Property to Pasadena Mall 3D, LLC (the “Buyer”).

       4.        The sale of the Property closed on July 27, 2018. Attached as Exhibit A is a copy

of the closing statement.

       5.        The Trustee and Bank of America, N.A., have agreed to make a distribution to

Bank of America, N.A. from the proceeds of the sale of the Property in the amount of

$1,137,845.54.

       6.        In connection with the Trustee’s obligation to remove documents as described in

the agreement for the Sale of the Property, the Trustee received an offer from the Buyer to

remove the documents for a $25,000 closing credit. The Trustee, in his reasonable business

judgment and with the consent of Bank of America, accepted the Buyer’s offer. The $25,000

closing credit is reflected in the attached closing statement.

       7.        Further, on Sept. 11, 2018, the Trustee paid a final utility bill dated July 16, 2017

attributable to the Property in the amount of $7,853.98.




TRUSTEE’S REPORT OF SALE                                                                  Page 2 of 3
       Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 3 of 8



Dated: October 3, 2018                             Respectfully submitted,

                                                   DIAMOND McCARTHY LLP

                                                   /s/ Michael D. Fritz
                                                   Charles M. Rubio
                                                   TBA No. 24083768
                                                   crubio@diamondmccarthy.com
                                                   Michael D. Fritz
                                                   TBA No. 24083029
                                                   mfritz@diamondmccarthy.com
                                                   Two Houston Center
                                                   909 Fannin, 37th Floor
                                                   Houston, TX 77010
                                                   Telephone: (713) 333-5100
                                                   Facsimile: (713) 333-5199

                                                   Counsel for Rodney D. Tow, Chapter 7
                                                   Trustee


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 3, 2017, a true and correct copy of the
foregoing was served on all parties registered to receive service through the CM/ECF system.

                                                                 /s/ Michael D. Fritz
                                                                    Michael D. Fritz




TRUSTEE’S REPORT OF SALE                                                           Page 3 of 3
Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 4 of 8




                         EXHIBIT A
Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 5 of 8
Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 6 of 8
Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 7 of 8
Case 17-33203 Document 117 Filed in TXSB on 10/03/18 Page 8 of 8
